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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                                        Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant


   GOVERNMENT’S UNOPPOSED MOTION TO AMEND BRIEFING SCHEDULE

       On December 16, 2019, this Court scheduled the sentencing hearing in this case for

January 28, 2020 at 11:00 AM. See Minute Order of December 16, 2019. In that order, the Court

set a briefing schedule for the parties to file their supplemental memorandum of law in aid of

sentencing—December 30, 2019 for the government; January 13, 2020 for the defendant. Id.

       On December 26, 2019, the government filed an unopposed motion to amend the briefing

schedule, permitting the government to file its supplemental memorandum by January 6, 2020, at

12:00 pm, and the defense to file its supplemental sentencing memorandum by January 21, 2020,

at 12:00 pm. See Government’s Unopposed Motion to Amend Briefing Schedule (ECF #148).

The Court granted the government’s motion. See Minute Order of December 27, 2019.

       As the government represented in its initial motion, there are multiple individuals and

entities who must review and approve the government’s submission, including any changes from

the government’s prior sentencing memorandum and its specific sentencing recommendations.

The government has worked assiduously over the holidays to complete this task, but we find that

we require an additional 24 hours to do so. The government respectfully requests that this Court

extend the government’s deadline to provide its supplemental sentencing memorandum to

Tuesday, January 7, 2020, at 12:00 p.m.
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       The government has conferred with the defendant, through counsel, who does not oppose

this request. To permit the defense its full two week period to respond, the parties request that

the Court also extend the defendant’s deadline by 24 hours to January 22, 2020, at 12:00 pm.

       Wherefore the government respectfully requests that the Court briefly continue the

deadlines associated with the supplemental sentencing memoranda in this case to January 7,

2020, at 12:00 pm, for the government; and January 22, 2020, at 12:00 pm, for the defendant.



                                                      Respectfully submitted,

                                                      JESSIE K. LIU
                                                      United States Attorney
                                                      D.C. Bar No. 472845

                                                      By: /s/

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Dated: January 4, 2020




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                               CERTIFICATE OF SERVICE


      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the defendant on January 4, 2020.




                                              ______/s/_______________
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